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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
JAMAL JAMAL, CIVIL DOCKET NO. 1:20-CV-00841-P
Petitioner
VERSUS JUDGE DRELL
WARDEN, MAGISTRATE JUDGE PEREZ-MONTES
Respondents
JUDGMENT

For the reasons contained in the Report and Recommendation (ECF No. 16) of
the Magistrate Judge previously filed herein, noting the absence of objections thereto,
and concurring with the Magistrate Judge’s findings under the applicable law;

IT IS ORDERED that the Motion to Dismiss (ECF No. 13) is GRANTED and
the Petition (ECF No. 1) is DISMISSED WITHOUT PREJUDICE for lack of
jurisdiction.

Gre

THUS DONE AND SIGNED in Alexandria, Louisiana, on this day of

November 2020.

 

mz
DEE D. DRELL—
UNITED STATES DISTRICT JUDGE

 
